                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT
  IN RE:
                                                        CHAPTER 13
  Alishia S Bledsoe,                                    CASE NO. 18-46072-MBM
                              DEBTOR.                   JUDGE MARCI B. MCIVOR
  _______________________________________/

       TRUSTEE’S OBJECTIONS TO CONFIRMATION OF CHAPTER 13 PLAN

       NOW COMES the Chapter 13 Standing Trustee, David Wm. Ruskin, and objects to
confirmation of the Chapter 13 Plan in the above matter pursuant to L.B.R. 3015-3(a) (E.D.M.) as
follows:

       1.      The debtor has failed to provide proof of the debtor’s current pay stubs for debtor’s
employment with Shipt prior to the First Meeting of Creditors as required by 11 U.S.C. Section
521. The Trustee therefore requests that the debtor produce proof of the debtor’s current pay stubs
for debtor’s employment with Shipt no later than 14 days prior to the scheduled Confirmation
Hearing in order for the Trustee to determine whether the debtor’s Plan complies with 11 U.S.C.
Section 1325(b), 11 U.S.C. Section 1325(a)(3) and 11 U.S.C. Section 1325(a)(6).

       WHEREFORE, the Chapter 13 Standing Trustee requests this Honorable Court deny
confirmation of the debtor's Chapter 13 Plan unless modified to meet these objections.

                          OFFICE OF DAVID WM. RUSKIN,
                          STANDING CHAPTER 13 TRUSTEE

Dated: May 31, 2018       By: /s/ Lisa K. Mullen
                          LISA K. MULLEN (P55478)
                          THOMAS D. DECARLO (P65330)
                          Attorneys for Chapter 13 Trustee, David Wm. Ruskin
                          1100 Travelers Tower
                          26555 Evergreen Road
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  IN RE:
                                                        CHAPTER 13
  Alishia S Bledsoe,                                    CASE NO. 18-46072-MBM
                              DEBTOR.                   JUDGE MARCI B. MCIVOR
  _______________________________________/

            CERTIFICATE OF SERVICE OF TRUSTEE'S OBJECTIONS TO
                    CONFIRMATION OF CHAPTER 13 PLAN

       I hereby certify that on May 31, 2018, I electronically filed the TRUSTEE’S
OBJECTIONS TO CONFIRMATION OF CHAPTER 13 PLAN with the Clerk of the Court using
the ECF system which will send notification of such filing to the following:
       The following parties were served electronically:
               WOLFSON BOLTON PLLC
               3150 LIVERNOIS #275
               TROY, MI 48083-0000

       The following parties were served via First Class Mail at the addresses below by depositing
same in a United States Postal Box with the lawful amount of postage affixed thereto:

               Alishia S Bledsoe
               11374 Burt Rd
               Detroit, MI 48228-0000



                                /s/ Jayme L. DePriest
                                Jayme L. DePriest
                                For the Office of David Wm. Ruskin,
                                Chapter 13 Standing Trustee - Detroit
                                1100 Travelers Tower
                                26555 Evergreen Road
                                Southfield, MI 48076-4251
                                (248) 352-7755




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